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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 23-CIV-24173-BLOOM/TORRES

  VIKRAM SINGH,

         Plaintiff,
  v.


  CARNIVAL CORPORATION,

         Defendant.
                                                     /

                              PLAINTIFF, VIKRAM SINGH’S,
                              RESPONSE IN OPPOSITION TO
                      DEFENDANT’S MOTION TO COMPEL ARBITRATION

         Plaintiff, VIKRAM SINGH, by and through undersigned counsel, and pursuant to the

  Federal Rules of Civil Procedure and 11th Circuit controlling precedent, hereby responds to

  Defendant’s Motion to Compel Arbitration and states as follows:

         1.      This matter presents a single count Complaint for “Intentional Infliction of

  Emotional Distress” as a consequence of Defendant’s levying and suborning false accusations

  against Plaintiff, a long-time Chief Security Officer on Defendant’s ships, luring Plaintiff to

  Defendant’s headquarters under false pretenses, wrongful termination of Plaintiff, and knowing

  abandonment of Plaintiff who is in need of curative medical treatment.

         2.      The 11th Circuit conclusively held that intentional tort claims are not subject

  to arbitration, Maglana, et al. v. Celebrity Cruises, Inc., Case No. 20-14206 (11th Cir. 2023); Doe

  v. Princess Cruise Lines, Ltd., 657 F.3d 1204 (11th Cir. 2011).

         3.      The facts giving rise to Plaintiff’s claim for Intentional Infliction of Emotional

  Distress are not arbitrable under the United Nations Convention on the Recognition and

  Enforcement of Foreign Arbitral Awards, 9 USC §§ 202-208 (2002) (the “Convention”), the U.S.

  Constitution or Statutes, or General Maritime Law.



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                         FACTS GIVING RISE TO CLAIM FOR
                  INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

         Plaintiff, a long-time and loyal employee of Defendant, joined LUMINOSA on September

  8, 2022 as Chief Security Officer. At the time, Plaintiff had undergone and passed a pre-

  employment physical examination and was declared fit for duty without restrictions.

         On or about November 30, 2022, as a result of excessive, prolonged, and unreasonable

  periods of time standing and walking in order to complete the duties assigned to him by Defendant,

  Plaintiff to commenced to experience pain in the left heel. As a result of continued and worsening

  symptoms and pain, Plaintiff presented to Defendant’s infirmary on January 20, 2023 and,

  thereafter, on February 2, 2023, was referred ashore for an Orthopaedic consult.

         Although the referral was made on February 2nd, it was not until February 13th that an MRI

  of the right ankle was ordered for February 19th and that Defendant arranged for Plaintiff to be

  seen ashore in Queensland, Australia by Dr. Steven Hatcher, on March 2, 2023.

         Although Plaintiff necessitated curative treatment and was not at maximum medical

  improvement (MMI), nether the MRI nor the consult with Dr. Hatcher ever occurred. Instead, on

  February 19, 2023 at 3:27am, Plaintiff received an email from his superior, Dominic Martis, in

  Defendant’s office in Miami instructing him to disembark the ship that same day and fly to Miami

  “since you have vast experience on our Australian ships, we need you to come to our CCL

  Headquarters, signing off LU tomorrow to work with the new Security Training Specialists next

  week in the office on the training curriculum for our Australian ships. The Security Training

  specialists are currently at our office and will be here till early March” – this despite the fact that

  with his departure from the ship, there would be no one to fill his position and the ship would

  remain under-manned. Plaintiff responded to Mr. Martis:

                FYI - presently I have only one ACSO and he is signing off today.
         Hopefully, his reliver will join today. I am suffering with heel pain and schedule
         for medical appointment ashore today. However, I will skip that medical
         appointment.

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                After finishing training early March, I would like to return back to ship to
         get my remaining belongings and thereafter stay with my sons as I have important
         planned activities with them after I sign off on March 12, 2023. Please advise.

         Although Plaintiff requested that he be allowed to return to Australia after his time at

  Defendant’s office in Miami as he had booked his own return trip home to India, Defendant refused

  this and further instructed Plaintiff: “Also, I would suggest carrying all your belongings as you

  will sign off in Miami, considering you are so close to vacation.”

         Shortly following his ordered arrival in Miami, on February 20, 2023, Plaintiff received

  the following threatening message: “Why you came here in Mia, don’t talk anything. Your family

  won’t see you again. We know where you stay.”

         On the morning of February 21, 2023, upon arriving at Defendant’s headquarters in Miami

  for the indicated training, Plaintiff was confronted by his superiors and Defendant’s investigators,

  among them Dominic Martis, Arturo Loynaz, Scott Nelson, and John Butchko, and only then

  learned that he had been ordered to Miami under completely false pretenses. Instead, his superiors

  and the investigators falsely accused Plaintiff of the improper touching of Housekeeping Attendant

  Imee Lucero and of introducing Ms. Lucero to Captain Carmelo Marino. During the course of that

  day’s “investigation” during which Plaintiff was confined to Defendant’s offices and not allowed

  to leave, Defendant asked Plaintiff to provide a written statement, which he did. Dissatisfied with

  Plaintiff’s statement, Defendant’s investigative team tore the statement up and forced Plaintiff to

  write another one with verbiage dictated by Mr. Loynaz. Plaintiff was then ordered home by his

  superiors.

         Upon return home to India, on February 25, 2023, Plaintiff provided a detailed summary

  of events and circumstances surrounding the false accusations of Ms. Lucero. On February 26,

  2023, Plaintiff provided even further information in response to further inquiry from Mr. Loynaz.

         Rather than conducting an honest and good faith investigation into the meritless

  accusations, on February 28, 2023, Mr. Loynaz instructed Plaintiff:

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         We decided that it is best for you to retire and move on with your life. CPS was
         changed to show you as retired since 02/23/23. I thank you for your service and
         dedication to CCL and wish you the best in all future endeavors. Please reach out
         to HR (Scott in copy) for guidance on the retirement process. Thank you.

         This wrongful termination under the guise of “retirement” was solely in retaliation to

  Plaintiff exercising his right to request a fair, impartial, and thorough investigation of the false

  claims against him; Plaintiff’s refusal to accept the railroading by Defendant’s employees in

  Miami, and Plaintiff’s      need for curative medical treatment.                   At the time of this

  wrongful/retaliatory termination Plaintiff was in need of curative medical treatment and was not

  at maximum medical improvement (MMI), making Defendant’s conduct and actions that much

  more extreme and outrageous.

         On February 28, 2023, following his wrongful termination, Plaintiff wrote to Defendant,

  including its on-call crew medical department advising of his continued need for immediate

  medical care:

         Requesting for your help. While on board Carnival Luminosa, I develop pain in my
         left heel, to which I was sent ashore at Wesley hospital in Brisbane (Australia) on
         Feb 02, 2023. After diagnoses, I was given medication for a month but there was
         no improvement in my pain. Senior Doctor David of Carnival Luminosa was kind
         enough to follow up about my treatment and he scheduled another appointment on
         Feb 19, 2023 for my MRI followed by orthopedic appointment on March 02, 2023.

         While the vessel was pulling in port of Brisbane on Feb 19, 2023, I was advised
         with very short notice (email received at 3:37 AM on Feb 19, 2023) by our Manager
         Dominic Martis to disembark Carnival Luminosa at Brisbane on same date (Feb
         19,2023) and fly out of Australia asserting that i have "vast experience on our
         Australian ships, we need you to come to our CCL Headquarters, signing off LU
         tomorrow to work with the new Security Training Specialists next week in the
         office on the training curriculum for our Australian ships".

         I followed the instructions of my boss and disembarked after advising him about
         my medical appointments and presumed that I will continue treatment after my
         return.

         While in Miami office, I was advised to take retirement due to undisclosed reasons.
         Presently, I am suffering from severe pain in both heels. Please provide me medical
         treatment here in India.

  Having received no response from Defendant, on March 2, 2023, Plaintiff followed upon his

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  request for needed medical care. Again, having received no response from Defendant, on March

  28, 2023, Plaintiff followed upon his request for needed medical care.

         Having been wrongfully terminated and abandoned at home by Defendant, Plaintiff has

  had to seek out his own medical care: As of June 29, 2023, Plaintiff was still in need of curative

  treatment and not at MMI (maximum medical improvement).

                                     MEMORANDUM OF LAW

         Just as in Doe v. Princess Cruise Lines, Ltd., 657 F.3d 1204 (11th Cir. 2011), here,

  Defendant has not filed a Motion to Dismiss, but instead has filed a “Motion to Compel Arbitration

  and to Stay” and requested that the Court “compel arbitration in accord with the Parties’

  agreement,” pointing out that the “Court has jurisdiction to compel arbitration.” As such, it is

  Defendant who has asked the Court to determine whether the dispute is subject to arbitration and

  this issue is one proper for judicial determination. Id. at 1213; see also Howsam v. Dean Witter

  Reynolds, 537 U.S. 79, 83, 123 S.Ct. 588, 591 (2002).

         The scope of the Convention under the laws of the United States provides that an agreement

  falls under the Convention if, and only if, it "arises out of a legal relationship, whether

  contractual or not, which is considered as commercial, including a transaction, contract, or

  agreement described in section of this title. Bautista v. Star Cruises, 396 F.3d 1289, 1297 (11th

  Cir. 2005). However, if either the 1) four jurisdictional prerequisites are not met or 2) one of the

  Convention's affirmative defenses applies, a Federal District Court must refrain from compelling

  arbitration. Id at 1294-95.

         As the party seeking to compel arbitration, Defendant bears the burden of proving each

  jurisdictional prerequisite. Rutledge v. NCL (Bahamas) Ltd., Case No. 14-Civ-23682-Moreno

  (S.D.Fla. Feb. 3, 2015). Failure to establish the jurisdictional prerequisites is fatal to a moving

  party’s efforts to compel arbitration.

         Plaintiff’s Complaint contains a single count for “Intentional Infliction of Emotional

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  Distress” and there is no basis in law or contract to arbitrate this claim.

         The arbitration provision at issue here is a “catch-all” type provision which is disfavored

  and scrutinized by courts. When determining whether specific causes of action are arbitrable, the

  court’s analysis tends to focus on the foreseeability of the underlying incident as it pertains to the

  scope of employment contemplated by the contract. Matters that do not arise out of the

  employment relationship are not subject to forced arbitration.

         “In the present case, the plain language of the arbitration provision imposes the limitation

  that, to be arbitrable, the dispute between Doe and the cruise line must relate to, arise from, or be

  connected with her crew agreement or the employment services that she performed for the cruise

  line. The arbitration provision is broad, but not limitless.” Doe, 657 F.3d at 1217-18. “If the

  language about employment and services as an employee did not limit the scope of the arbitration

  provision, it would have no purpose, and that is an interpretative no-no.” Id. at 1218. Courts have

  analyzed the “catch all” type of language found here which is nearly identical to the one in Doe

  where the Eleventh Circuit explained “related to” and “connected with” implied it fell within the

  generally understood scope of an employment relationship which did not include intentional torts.

  Id. at 1218-19.

         Intentional torts are not foreseeable parts of an employment agreement or a typical

  employer/employee relationship. Jones v. Halliburton Co., 583 F.3d 228, 236 (5th Cir. 2009). This

  is because they are not within the scope of an employment arbitration provision and compelling

  arbitration of these claims is improper because intentional torts do not normally arise out of the

  employment context as they would be actionable notwithstanding an employment agreement. See

  e.g. Tolliver v. Kroger Co., 201 W.Va. 509, 498 S.E.2d 702, 713 (W.Va. 1997) (determining an

  assault and battery claim was not within the scope of the company's collective bargaining

  agreement for purposes of resolving the conflict through grievance procedures, that “[a]ssault and

  battery conduct is not a part of, nor a condition of employment").


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          Doe v. Princess Cruise Lines, Ltd., 657 F.3d 1204, involved an action by a crewmember

  against Princess Cruises, owned by Defendant, as a result of her drugging and group rape. The

  action included non-maritime common law tort claims for the cruise line’s intentional refusal to

  allow the plaintiff to disembark for medical care, infliction of emotional distress in its treatment

  of the plaintiff after she reported the rape, spoliation of evidence in its destruction of the results of

  the rape kit, invasion of privacy, and fraudulent misrepresentations. Just as here, the defendant

  moved to compel arbitration, a motion which the District Court denied. In striking similarity to

  the present matter, the arbitration provision which the defendant cruise line sought to enforce

  provided as follows:

          ... [T]he Company and crew member agree that any and all disputes, claims, or
          controversies whatsoever (whether in contract, regulatory, tort or otherwise and
          whether pre-existing, present or future and including constitutional, statutory,
          common law, admiralty, intentional tort and equitable claims) relating to or in any
          way arising out of or connected with the Crew Agreement, these terms, or services
          performed for the Company, including but not limited to wage and benefit matters,
          employment applications, wrongful termination or discrimination claims, property
          loss or damage, personal injury, death or any other claim, no matter how described,
          pleaded or styled [collectively, "Disputes"] between the crew member and the
          Company or others, including against the master, shipowner, vessel, vessel
          operator, charterer, or any other third party, including also, but not limited to,
          Princess Cruises, P&O Cruises Australia, and Cunard Line, shall be referred to and
          resolved exclusively by binding arbitration....

  Doe, 657 F.3d at 1214-1215 (emphasis added)

          In affirming the District Court’s denial of the defendant’s motion to compel insofar as the

  common law tort claims (false imprisonment, intentional infliction of emotional distress spoliation

  of evidence, invasion of privacy and fraudulent misrepresentation), the 11th Circuit held that these

  claims did not “relate to, arise from, or are connected with the crew agreement and the services

  that she performed as an employee” and found as follows:

          In the present case, the plain language of the arbitration provision imposes the
          limitation that, to be arbitrable, the dispute between Doe and the cruise line must
          relate to, arise from, or be connected with her crew agreement or the employment
          services that she performed for the cruise line. The arbitration provision is broad,
          but not limitless.


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               If the cruise line had wanted a broader arbitration provision, it should
       have left the scope of it at “any and all disputes, claims, or controversies
       whatsoever” instead of including the limitation that narrowed the scope to only
       those disputes, claims, or controversies “relating to or in any way arising out of
       or connected with the Crew Agreement, these terms, or services performed for
       the Company.” That would have done it, but the company did not do that. Instead,
       after including that limiting language, it now argues that we should ignore the
       limitation and force Doe to arbitrate any and all disputes, claims, or controversies
       without regard to whether they relate to, arise out of, or are connected with her
       employment or her service as an employee. That we cannot do. See Becker v.
       Davis, 491 F.3d 1292, 1298 (11th Cir.2007), abrogated on other grounds by Arthur
       Andersen LLP v. Carlisle, 556 U.S. 624, 129 S.Ct. 1896, 173 L.Ed.2d 832
       (2009), as recognized by Lawson v. Life of the South Ins. Co., 648 F.3d 1166, 1170-
       71 (2011) (“A party cannot be forced to arbitrate any dispute that the party has not
       agreed to submit to arbitration.”). If the language about employment and services
       as an employee did not limit the scope of the arbitration provision, it would have
       no purpose, and that is an interpretative no-no. See Golden Door Jewelry
       Creations, Inc. v. Lloyds Underwriters Non-Marine Ass'n, 117 F.3d 1328, 1338
       (11th Cir.1997) (“[A]n interpretation which gives a reasonable meaning to all
       provisions of a contract is preferred to one which leaves a part useless or
       inexplicable.” (internal marks and citation omitted)); Restatement (Second) of
       Contracts §203(a) (1981) (“An interpretation which gives a reasonable, lawful, and
       effective meaning to all the terms is preferred to an interpretation which leaves a
       part unreasonable, unlawful, or of no effect.”); see also In re Hedrick, 524 F.3d
       1175, 1189 (11th Cir.2008) (stating that a statutory interpretation that “renders one
       provision superfluous ... is an interpretative no-no”).

                Contrary to Princess Cruise Lines' position, the terms used in the limiting
       language are not unlimited in scope. The term “arising out of” is broad, but it is
       not all encompassing. In construing that same term to determine whether a
       dispute arises out of a contract, we have explained that the focus is on “whether
       the tort or breach in question was an immediate, foreseeable result of the
       performance of contractual duties.” Telecom Italia, 248 F.3d at 1116; see
       also Hemispherx, 553 F.3d at 1367 (“We have previously focused on foreseeability
       as [the] proper standard for resolving the scope of an arbitration clause that covers
       disputes `arising out of or pursuant to' the contract between the parties.”). "Arising
       out of" requires the existence of some direct relationship between the dispute and
       the performance of duties specified by the contract. See Telecom Italia, 248 F.3d at
       1116 ("Disputes that are not related — with at least some directness — to
       performance of duties specified by the contract do not count as disputes `arising out
       of' the contract, and are not covered by the standard arbitration clause.").

               Similarly, “related to” marks a boundary by indicating some direct
       relationship; otherwise, the term would stretch to the horizon and beyond. As the
       Supreme Court has explained in the ERISA pre-emption context, “related to” is
       limiting language and “[i]f `relate to' were taken to extend to the furthest stretch of
       its indeterminacy,” it would have no limiting purpose because "really,
       universally, relations stop nowhere." N.Y. State Conference of Blue Cross & Blue
       Shield Plans v. Travelers Ins. Co., 514 U.S. 645, 655, 115 S.Ct. 1671, 1677, 131
       L.Ed.2d 695 (1995) (quotation marks omitted). The same rationale applies here.
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                 “Connected with” also connotes the necessity of some direct connection; if
         it did not, the term would be meaningless. Cf. Ethicon Endo-Surgery, Inc. v. U.S.
         Surgical Corp., 93 F.3d 1572, 1578 (Fed.Cir.1996) (construing a patent claim and
         stating that “[i]f, as Ethicon argues, `connected to' should be read broadly to include
         elements which are connected directly or indirectly, then ... the `connected to'
         limitation would be meaninglessly empty”).

         . . . . . Counts VI, VII, VIII, IX, and X of Doe's complaint contain allegations and
         claims that do not arise from, do not relate to, and are not connected with the
         parties' crew agreement or the services that Doe performed for Princess Cruise
         Lines. Count VI, a claim for false imprisonment, is based on the allegation that
         officers of the cruise ship would not permit Doe to leave the ship and go ashore to
         get medical treatment after she was raped. Count VII, a claim for intentional
         infliction of emotional distress, is based on allegations that a crew member drugged
         and raped Doe as well as allegations about the cruise line's actions after the rape,
         including its refusal to allow Doe to receive prompt and adequate medical care and
         its interrogation and intimidation of Doe. Count VIII, a claim of spoliation of
         evidence, is based on the allegation that the cruise line breached its duty to preserve
         evidence after Doe was raped. Count IX, a claim of invasion of privacy, is based
         on the allegation that cruise line officials breached their duty to protect Doe's
         confidentiality and privacy as a rape victim by disclosing her real name in an effort
         to intimidate and embarrass her. Count X, a claim of fraudulent misrepresentation,
         is based on allegations that officers of the cruise line who were on the ship
         repeatedly and falsely told Doe after she had been drugged and raped that she could
         not disembark the ship to get medical treatment and counseling by doctors of her
         own choosing.

                 All five of those claims involve factual allegations about how the cruise line
         and its officials treated Doe after learning that she had been raped, including
         allegations that she was kept on the ship against her will, that she was prevented
         from getting medical attention off the ship, that her rape kit was destroyed in the
         incinerator, and that her confidentiality as a rape victim was intentionally violated.
         Nothing about those allegations relate to, arise out of, or are connected with Doe's
         crew agreement or her duties for Princess Cruise Lines as a bar server.

  Id. at 1217-1219 (citations in original) (emphasis added).

         Similarly, Rutledge v. NCL (Bahamas) Ltd., Case No. 14-Civ-23682-Moreno, involved an

  action by a crewmember against a cruise line for traditional seaman-injury claims, but also

  contained causes of action for negligence and strict liability for sexual harassment and sexual

  assault. Again, the defendant cruise line moved to compel arbitration. In denying the defendant’s

  motion related to the sexual harassment and assault, the District Court, relying in large part on

  Doe, held that these claims were not “relat[ed] to” or “connected with” the plaintiff’s employment

  as these were not foreseeable to her employment and found:
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         Plaintiff argues these claims are simply not “relat[ed] to” or “connected with” her
         employment as a ship's photographer, and therefore fall outside of the scope of the
         Arbitration Provision. Resp. at 7. Plaintiff points to Doe v. Princess Cruise Lines,
         Ltd.,651 F.3d 1204(11th Cir. 2011), where the court held that Plaintiffs claims
         against Princess Cruise Lines — stemming from the rape of the plaintiff, a bar
         server who worked and lived aboard a cruise ship, and how the cruise line and its
         officials treated the plaintiff after learning she had been raped — were not subject
         to arbitration. The court in Doe looked to the limiting language of the subject
         arbitration agreement, finding that “to be arbitrable, the dispute between Doe and
         the cruise line must relate to, arise from, or be connected with her crew agreement
         or the employment services she performed for the cruise line.” Id. at 1217-18. The
         Court further held that the terms “arising out of,” “related to” and “connected with”
         necessarily “requires the existence of some direct relationship between the dispute
         and the performance of duties specified by the contract.” Id. at 1218. The Court
         concluded, “[n]othing about those allegations relate to, arise out of, or are
         connected with Doe's crew agreement or her duties as a bar server.” Id. at 1219.

         The Court finds Doe instructive. The limiting language in the Arbitration
         Provision between Defendant NCL and Plaintiff Rutledge is almost identical to
         the language seen in Doe. Here, the Arbitration Provision encompasses “any and
         all claims, grievances, and disputes of any kind whatsoever relating to or in any
         way connected with the Seaman's shipboard employment with Company,” while
         the provision in Doe provided the claims “must relate to, arise from, or be
         connected with her crew agreement or the employment services she performed
         for the cruise line.” Doe, 657 F.3d at 1217-18. The Court, similar to the court
         in Doe, rejects Defendant's argument that merely because Plaintiff was employed
         by Defendant and under the supervision and oversight of co-Defendant Naik,
         Plaintiffs sexual harassment and sexual assault claims must be related and
         connected to her employment. See id. at 1219 (“The incidental fact that Doe might
         not have been on the cruise ship if she had not been working for the cruise line does
         not mean that her claims relate to, arise from, or are connected with the crew
         agreement and the services that she performed for the cruise line.”).

  Id. at pp. 7-8 (S.D.Fla. Feb. 3, 2015) (citations in original) (emphasis added).

         Most recently, in Maglana, et al. v. Celebrity Cruises, Inc., Case No. 20-14206 (11th Cir.

  2023), the 11th Circuit came to same conclusion related to the arbitrability of intentional torts. This

  case involved claims by Filipino crewmembers forced to remain aboard ship against their will by

  the defendant cruise line following the CDC’s “no sail order” of March 2020 in response to the

  Covid outbreak. The plaintiff, on behalf of a putative class of Filipino crewmembers alleged “false

  imprisonment—forcing class members to remain on the ship—and intentional infliction of

  emotional distress—treating them ‘like cattle’ and causing mental anguish.” Id. at p.5. The

  defendant cruise line moved to dismiss the complaint and compel arbitration based upon a
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  contractual and collective bargaining provision requiring arbitration of “[a]ll grievances and any

  other dispute whatsoever, whether in contract, regulatory, statutory, common law, tort or otherwise

  relating to or in any way connected with the Seafarer’s service.” Id. at 6. Further, because they

  were Filipino, the plaintiff crewmembers’ employment contracts incorporated the Philippines

  Overseas Employment Administration (POEA) standard contract which similarly provided that

  “[i]n cases of claims and disputes arising from this employment, the parties covered by a collective

  bargaining agreement shall submit the claim or dispute to the original and exclusive jurisdiction

  of the voluntary arbitrator or panel of voluntary arbitrators.” Id. at 7. The District Court found

  that the plaintiffs’ “intentional tort claims would not be viable but for their service on the ship,”

  granted the defendant’s motion to dismiss and compelled the matter to arbitration.

          In reversing the District Court’s order compelling arbitration, the 11th Circuit adhered to

  Doe, rejected the District Court’s application of a “but for” test to intentional tort claims, and held:

          The same is true here. Maglana and Bugayong signed employment agreements that
          required arbitration of claims “relating to or in any way connected with the
          Seafarer’s service” or “arising from [their] employment.” They brought intentional
          tort claims based on the cruise line’s actions after their termination: a false
          imprisonment claim for Celebrity’s holding them “captive against their will” and
          an intentional infliction of emotional distress claim for Celebrity’s treating them
          “like cattle.” Under Doe’s reasoning, these claims are not “an immediate,
          foreseeable result of the performance of the parties’ contractual duties or [the
          plaintiffs’] services” as cruise line employees. Doe, 657 F.3d at 1219. As in Doe,
          the employment agreements do not require arbitration of the intentional tort
          claims.

  Maglana, et al. v. Celebrity Cruises, Inc., Case No. 20-14206, p. 12 (citations in original)

  (emphasis added).

          Just as in the decisions above, the facts related to Plaintiff’s claim for Intentional Infliction

  of Emotional Distress do not support an argument for foreseeable conduct and, consequently, do

  not sufficiently relate to Plaintiffs’ employment with Defendant such that his intentional tort claim

  is subject to arbitration.




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                                                   Respectfully submitted,

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                                     CERTIFICATE OF SERVICE
         WE HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
  this 13th day of January 2024, via Email to all Counsel on the attached Service List.

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